        Case 1:19-cv-00161 Document 3 Filed on 08/23/19 in TXSD Page 1 of 3
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                               UNITED STATES DISTRICT COURT                             August 23, 2019
                                SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                  BROWNSVILLE DIVISION

DEPARTMENT OF HOMELAND SECURITY,                  §
IMMIGRATION AND CUSTOMS                           §
ENFORCEMENT,                                      §
                                                  §
         Petitioner,                              §
VS.                                               §   CIVIL ACTION NO. 1:19-CV-00161
                                                  §
AKRAM HOSSAIN,                                    §
                                                  §
         Respondent.                              §

                            TEMPORARY RESTRAINING ORDER

         The United States Department of Homeland Security, Immigration and Customs

Enforcement (“ICE” or “Petitioner”) has filed for an Emergency Court Order to Permit

Involuntary Administration of Hydration and Restraints (Doc. 1) and an accompanying

Emergency Motion for Order to Permit Involuntary Administration of Hydration (Doc. 2).

         Respondent Mohammad Dowan is a citizen of Bangladesh who currently is in removal

proceedings. An Immigration Judge denied his request for asylum. He filed an appeal with the

Board of Immigration Appeals, who then dismissed the appeal.               Since August 2, 2019,

Respondent has been on a hunger strike. He has consumed a very small amount of liquid since

August 3.

         Based on affidavits that ICE submits with its request, the Court finds:

      1. The Respondent’s hunger strike and limited hydration has adversely affected his health.

      2. The Respondent’s continuation of his hunger strike and refusal to drink places his life in

         imminent danger.

      3. Without the involuntary administration of hydration, by nasogastric tube and/or

         intravenous feeding, Respondent faces a high probability of death in the very near future.

         ICE bears responsibility for the care and custody of Respondent. See Estelle v. Gamble,

429 U.S. 97, 104 (1971). ICE has compelling governmental interests in the preservation of life of
      Case 1:19-cv-00161 Document 3 Filed on 08/23/19 in TXSD Page 2 of 3



individuals in its care and custody, in the prevention of suicide of those individuals, and in the

enforcement of security, order, and discipline in its facilities. Based on the affidavits that ICE

submits with its request, the Court finds that Respondent’s death not only would thwart ICE’s

ability to care for an individual in its custody (i.e., the Respondent), but would pose a serious

threat to the security and good order of the facility in which ICE currently maintains

Respondent.

       ICE’s compelling interests outweigh any constitutional rights that Respondent may

assert in the circumstances of this case. See, e.g., Washington v. Harper, 494 U.S. 210, 227

(1990) (holding that “given the requirements of the prison environment, the Due Process Clause

permits the State to treat a prison inmate who has a serious mental illness with antipsychotic

drugs against his will, if the inmate is dangerous to himself or others and the treatment is in the

inmate’s medical interest”); Freeman v. Berge, 441 f.3d 542, 546 (7th Cir. 2006) (“[A]t some

point [a prison] may have to force-feed [a] prisoner to prevent him from seriously endangering

his health.”); Martinez v. Turner, 977 F.2d 421, 423 (8th Cir. 1992) (rejecting plaintiff’s claim

that prison regulations that permit medical officers to force-feed an inmate if they determine

that his life or permanent health are in danger violate the Constitution).

       ICE has established the elements for emergency injunctive relief under Federal Rule of

Civil Procedure 65(b) and the requirements for injunctive relief in the Fifth Circuit. See Canal

Auth. v. Callaway, 489 F.2d 567, 572 (5th Cir. 1974).

       Accordingly, it is:

       ORDERED that Petitioner’s Emergency Motion for Order to Permit Involuntary

Administration of Hydration is GRANTED;

       ORDERED that a trained medical professional is authorized to employ the least

amount of force necessary to administer hydration to Respondent Mohammad Dowan to the

extent necessary to prevent life-threatening consequences to Respondent Mohammad Dowan;
      Case 1:19-cv-00161 Document 3 Filed on 08/23/19 in TXSD Page 3 of 3



       ORDERED that competent medical authority may use the least amount of force and

restraint mechanisms necessary to restrain Respondent if he resists efforts to administer

hydration.

       This Temporary Restraining Order expires at 5:00 p.m. on September 5, 2019 p.m.

(central standard time).

       SIGNED this 23rd day of August, 2019 at 4:55 p.m. (central standard time).


                                               _________________________________
                                               Fernando Rodriguez, Jr.
                                               United States District Judge
